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                                       ORDERED.
     Dated: October 10, 2023




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                      Tampa Division

IN RE:                                                       Chapter 11

NEUROEM THERAPEUTICS, INC.,                                  Case No.: 8:23-bk-00425-CPM

      Debtor.                            /

                     ORDER CONFIRMING DEBTOR’S AMENDED
              PLAN OF REORGANIZATION PURSUANT TO 11 U.S.C. § 1191(b)

       THIS CASE came on for hearing on September 28, 2023 at 3:00 p.m., to consider
confirmation of the Third Plan of Reorganization [Doc. No. 111] (the “Plan”) proposed by
NeuroEM Therapeutics, Inc. (the “Debtor”).

       Changes made on the record in open court: During the hearing, the parties informed the
Court that the parties had reached various agreements to resolve their disputes regarding
confirmation issues, namely:

         A.     Plan amendments made on the record in open court:

                i.     The following changes relate to the claims of Lyle R. Scritsmier, his various
                       entities, his siblings, and the entities controlled by his siblings.

                       a.      Claims 3 and 4 will be allowed in full and treated in Class 3 with
                               the NEMI and Arendash convertible note claims to the extent so
                               convertible. The Debtor will not object to Claim Nos.: 3 and 4.

                       b.      Lyle R. Scritsmier, the Lyle R. Scritsmier Living Trust, the Lyle R.
                               Scritsmier GST Trust, and any other entities Lyle Scritsmier is
                               affiliated with will waive all claims they may have against the
                               Debtor (including Claim No.: 50) other than Claim Nos.: 3 and 4.
                               In order to avoid any confusion, Proof of Claim Nos.: 27 and 47,
                               which are owned by entities controlled by siblings of Lyle R.
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               Scritsmier, are not waived, will be allowed in full, and treated in
               Class 3 with the other convertible notes claims including the NEMI
               and Arendash note claims.. The Debtor will not object to Claim
               Nos.: 27 and 47.

        c.     The Debtor will not reject the stock warrants (21,500 shares at $1.00
               per share) which were allocated and issued to Lyle R Scritsmier
               Living Trust, Milton B. Scritsmier Living Trust, and Ellen Sullivan
               Living Trust pursuant to the Settlement Agreement dated January
               10, 2022. The three aforementioned Trusts will retain these stock
               warrants post-confirmation.

        d.     Lyle R. Scritsmier will receive three transcranial electromagnetic
               devices pursuant to section 1(c) of the Settlement Agreement dated
               January 10, 2022. In the event the FDA approved devices are not
               commercially available for individual users, Lyle R. Scritsmier will
               be given the right to select any other transcranial electromagnetic
               devices utilizing the Debtor’s Alzheimer’s intellectual property.

        e.     The final pre-exchange capitalization table for the Debtor will
               reflect the distribution of the Scritsmier Bypass Trust’s 23,955
               shares equally to the trust’s three beneficiaries in the amount of
               7,985 shares each: GST Exempt Trust for Lyle R. Scritsmier dated
               June 3, 2017; The Milton B. Scritsmier Living Trust dated August
               20, 2015; and Ellen Marie Sullivan Living Trust. To the extent that
               the Debtor needs any additional documentation or representations to
               complete the distribution, the Debtor will provide drafts to Lyle R.
               Scritsmier who will accommodate all reasonable requests. The
               parties will collectively complete any paperwork necessary to
               effectuate the transfer prior to the entry of the Confirmation Order

  ii.   The treatment of Class 2 shall be modified as follows:

        The University of South Florida holds a scheduled allowed general
        unsecured claim in the amount of $112,500 which is based on the Debtor’s
        failure to tender royalty payments to claimant under the Standard Exclusive
        License Agreement with Sublicensing Terms (Agreement # LIC13031)
        dated June 30, 2013 which was amended on June 7, 2019, and again on
        November 30, 2020 (collectively, the “License Agreement”). The Debtor
        will assume the License Agreement on the Effective Date of the Plan. The
        Debtor will cure all pre and post petition licensing arrearages at the earlier
        of: (1) when the Debtor can “afford” to; or (2) at the completion of a capital
        raise of at least $1,500,000. The Debtor and claimant shall file a supplement
        with the Court detailing what constitutes the Debtor’s ability to “afford” to
        cure the arrearages with the Court on or before the fourteenth (14th) day
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              following the entry of the Confirmation Order. The royalty fee in the
              License Agreement will be increased from 1% to 1.75%.

       iii.   The treatment of Class 4 shall be modified as follows:

              Claimants in this class will receive a 1.25X return on the amount of their
              allowed claim as of the Petition Date (i.e., an allowed claim of $100,000
              would receive a total distribution of $125,000), which the Debtor will pay
              in full, without post-petition interest, on or before February 28, 2026. The
              Debtor, at its sole discretion, may elect to pay these claims in a lump sum
              or over time, or may offer the claimants the option to elect to receive
              common stock equity using the same exchange ratio as the members of
              NEMI. There is no pre-payment penalty.

       iv.    The date of all payment obligations of the Debtor under the Plan shall be
              changed to February 28, 2026, with the exception of those obligations
              which mature prior to February 28, 2026. Obligations which mature prior
              to February 28, 2026, shall retain their original maturation dates.

       v.     Paragraph 8.08 (b) of the Plan shall be modified to state that the Subchapter
              V trustee shall be discharged from her duty once the Debtor has completed
              all of the payments required under the Plan.

       vi.    Paragraph 9.02 of the Plan shall be modified as follows:

              Non-consensual Plan. If the Plan is confirmed under § 1191(b), the Debtor
              shall receive its discharge once all payments required under the Plan have
              been made, except that the Debtor will not be discharged of any debt: (i)
              imposed by this Plan; (ii) of a kind specified in § 1141(d)(6)(A) if a timely
              complaint was filed in accordance with Rule 4007(c) of the Federal Rules
              of Bankruptcy Procedure; or (iii) of a kind specified in § 1141(d)(6)(B).

       vii.   The Debtor shall be prohibited from issuing nonvoting equity securities to
              any claimant entitled to receive equity securities under the Plan or this order.
              Equity securities issued under the Plan or this order shall be of the same
              class of security, with the same voting rights, as the common stock which
              existed prior to the entry of this order.

B.     Withdrawal of objections/changes of votes made orally on the record in open court:

       i.     Lyle R. Scritsmier, the Lyle R. Scritsmier Living Trust, and the Lyle R.
              Scritsmier GST Trust changed their votes in Classes 3 and 5 to accept the
              Plan.

       ii.    The claimants referred throughout the case as “NEMI”, the “NEMI Group”
              or the “NEMI Investors,” who were represented at the confirmation hearing
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                             by Michael Lichtenstein and J. Ryan Yant, changed their votes in Class 3 to
                             accept the Plan.

       After considering (a) the Second Verified Confirmation Statement [Doc. No. 129]; (b) the
evidence proffered and the arguments of counsel and claimants; and (c) the entire record in this
Chapter 11 case, and for reasons stated orally and recorded in open court that shall constitute the
decision of the Court, the Court has concluded that the Plan should be confirmed. Accordingly, it
is

           ORDERED:

           1.       Jurisdiction, Venue, Core Proceedings. The Court has jurisdiction over this case
                    pursuant to 28 U.S.C. § 1334. Confirmation of the Plan is a core proceeding
                    pursuant to 28 U.S.C. § 157(b), and this Court has jurisdiction to enter a final order
                    with respect thereto. The Debtor is an eligible debtor under 11 U.S.C. § 109. 1 Venue
                    is properly before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

           2.       Deadline/Solicitation Order. On May 31, 2023, the Court entered its Order Setting:
                    (I) Hearing on Confirmation of Plan of Reorganization, (II) Deadlines With Respect
                    to Confirmation Hearing, and (III) Deadline for Filing Applications for
                    Administrative Expenses (the “Solicitation Approval Order”) [Doc. No. 76]. The
                    Solicitation Approval Order was modified by a subsequent order [Doc. No. 105] on
                    August 7, 2023.

           3.       Confirmation of Plan. The Plan is CONFIRMED pursuant to 11 U.S.C. §§ 1129
                    and 1191(b).

           4.       Transmittal of Solicitation Packages. Copies of the Plan, the Solicitation Approval
                    Order, the modified Solicitation Approval Order, and a ballot (together, the “Plan
                    Solicitation Package”) were served on all creditors entitled to vote on the Plan.
                    The Court finds that (a) timely and proper notice of the confirmation hearing, the
                    time fixed for filing objections to confirmation, and the time for submitting ballots
                    on the Plan was provided to all creditors and all parties in interest; (b) such notice
                    was adequate and sufficient to notify all creditors and all parties in interest of the
                    confirmation hearing and the objection and voting deadlines as to the Plan; and (c)
                    such notice complied in all respects with the procedural orders of this Court, the
                    Bankruptcy Code, the Federal Rules of Bankruptcy Procedure and otherwise
                    satisfied the requirements of due process.

           5.       Ballot Tabulation. The Debtor filed a Ballot Tabulation [Doc. No. 130] which
                    reflected the acceptance of at least one impaired class.

           6.       Compliance with the Requirements of 11 U.S.C. §1129.


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    Subsequent cites to title 11 of the United States Code may sometimes be to “the Bankruptcy Code.”
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  a.    Compliance with 11 U.S.C. §1129(a)(1). The Plan complies with the
        applicable provisions of the Bankruptcy Code, in particular:

        i.      Proper Classification. The Plan sets out separately numbered classes
                of impaired claims and interests. The claims and interests within
                each class are substantially similar to the other claims and interests,
                as the case may be, in the class. Valid business, factual, and legal
                reasons exist for separately classifying various classes of claims and
                interests created under the Plan and such classifications do not
                unfairly discriminate between the holders of claims and interests.
                Therefore, the Plan satisfies 11 U.S.C. §§ 1122 and 1123(a)(1).

        ii.     Specified Unimpaired Classes. The Plan properly designates
                unimpaired classes as unimpaired. Therefore, the Plan satisfies 11
                U.S.C. §1123(a)(2).

        iii.    Specified Treatment of Impaired Classes. The Plan designates
                which classes are as impaired within the meaning of 11 U.S.C. §
                1124. The Plan states the specific treatment of each class of impaired
                claimants or interests. Therefore, the Plan satisfies 11 U.S.C. §
                1123(a)(3).

        iv.     No Discrimination within Classes. The Plan provides for the same
                treatment of each claim within each particular class of claims or
                interests. Therefore, the Plan satisfies 11 U.S.C. § 1123(a)(4).

        v.      Implementation. The Plan provides adequate means for the Plan’s
                implementation. Therefore, the Plan satisfies 11 U.S.C. §§
                1123(a)(5).

        vi.     Corporate charter amendments. The Plan, as modified by this order,
                provides for a prohibition on issuing nonvoting equity securities.
                The Debtor currently only has one class of equity securities and
                claimants issued equity securities under the Plan will receive equity
                securities in that class. Therefore, the Plan satisfies 11 U.S.C. §
                1123(a)(6).

        vii.    Impairment/Unimpairment of Classes of Claims and Interests. The
                Plan designates certain classes as impaired, as permitted by 11
                U.S.C. §1123(b)(1).

        viii.   Assumption or Rejection of Leases and Executory Contracts. The
                Plan provides for the assumption and rejection of leases and
                executory contracts, subject to 11 U.S.C. § 365, as permitted by 11
                U.S.C. § 1123(b)(2).
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        ix.    Modification of the Rights of Holders of Secured Claims. There are
               no holders of secured claims. Therefore, 11 U.S.C. §1123(b)(5) is
               inapplicable.

        x.     Cure of Defaults. The Plan provides for the assumption of unexpired
               leases and executory contracts pursuant to an order of the Court,
               thereby satisfying 11 U.S.C. §1123(d).

  b.    Compliance with 11 U.S.C. § 1129(a)(2). The Debtor, as the Plan
        proponent, has complied with the applicable provisions of the Bankruptcy
        Code. Specifically:

        i.     The Debtor is an eligible debtor under 11 U.S.C. § 109.

        ii.    The Debtor has complied with the applicable provisions of the
               Bankruptcy Code, unless such compliance was excused by order of
               this Court.

        iii.   The Debtor has complied with 11 U.S.C. § 1126, the Federal Rules
               of Bankruptcy Procedures, the Court’s Local Rules, and the
               Solicitation Approval Order in transmitting the Solicitation Package
               and in soliciting and tabulating the vote.

  c.    Compliance with 11 U.S.C. § 1129(a)(3). The Plan has been proposed in
        good faith and not by any means forbidden by law. The good faith is evident
        from the record in this case, the facts as adduced or proffered at the
        confirmation hearing and other hearings during the course of this
        bankruptcy case, and the information contained in the Plan. The Plan was
        proposed with the honest and legitimate purpose of maximizing the value
        of the Debtor’s estate and the payments to creditors. The Plan was
        developed in good faith on the part of the Debtor and in good faith
        negotiations with various creditors. Therefore, 11 U.S.C. § 1129(a)(3) is
        met.

  d.    Compliance with 11 U.S.C. § 1129(a)(4). Applications for fees and
        expenses of professionals were filed and have been approved by this Court
        or will be filed and are subject to approval by this Court. Separate orders
        will be entered thereon. Therefore, 11 U.S.C. § 1129(a)(4) is met.

  e.    Compliance with 11 U.S.C. § 1129(a)(5). The proponent of the Plan has
        disclosed the identity of the post-confirmation management as well as
        employment of insiders. Therefore, 11 U.S.C. § 1129(a)(5) is met.

  f.    Compliance with 11 U.S.C. § 1129(a)(7). As to impaired classes of claims,
        each holder of a claim or interest of such class has accepted the Plan or will
        receive or retain property of a value that is not less than it would receive or
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                          retain if the Debtor was liquidated under Chapter 7. Therefore, 11 U.S.C. §
                          1129(a)(5) is met.

                 g.       Compliance with 11 U.S.C. § 1129(a)(8). Every class of creditors that is
                          impaired under the Plan did not vote to accept the Plan. Therefore, 11
                          U.S.C. § 1129(a)(8) is not met.

                 h.       Compliance with 11 U.S.C. § 1129(a)(9). Priority tax claims will be paid in
                          accordance with 11 U.S.C. § 1129(a)(9)(C)(ii). The treatment of these and
                          other allowed administrative expense claims meets the requirements of 11
                          U.S.C. § 1129(a)(9).

                 i.       Compliance with 11 U.S.C. § 1129(a)(10). At least one non-insider
                          impaired class voted to accept the Plan. Therefore, 11 U.S.C. § 1129(a)(10)
                          is met.

                 j.       Compliance with 11 U.S.C. § 1129(a)(11). Based upon the information
                          contained in the Plan and uncontroverted evidence proffered at the
                          Confirmation Hearing that is both persuasive and credible, the Plan is
                          feasible and not likely to be followed by liquidation or further financial
                          reorganization. Therefore, 11 U.S.C. § 1129(a)(11) is met.

                 k.       Compliance with 11 U.S.C. § 1129(a)(12). The Plan provides that fees
                          required to be paid pursuant to 28 U.S.C. § 1930 are administrative expenses
                          that will be paid on the effective date of confirmation. Therefore, 11 U.S.C.
                          § 1129(a)(12) is met.

                 l.       Compliance with 11 U.S.C. § 1191(b). The Court finds that the Plan does
                          not discriminate unfairly and is fair and equitable as to non-accepting
                          impaired classes. To wit:

                          i.       The claimant in Class 2 has acquiesced to the Plan treatment as
                                   modified by this order, even though the claimant did not submit a
                                   ballot accepting the Plan.

                          ii.      The Class 4 claimants are being paid their allowed claims in full,
                                   with interest on or before February 28, 2026. 1 Therefore, the Class
                                   4 claimants are receiving property of a value, as of the effective date
                                   of the plan, equal to the allowed amount of such claim, and 11
                                   U.S.C. § 1129(b)(2)(B)(i) is met.

                          iv.      The Class 5 equity security holders are retaining property of a value,
                                   as of the effective date of the plan, equal to the greatest of the
                                   allowed amount of any fixed liquidation preference to which they

1
 The Court determined that by paying Class 4 claimants a 1.25X return on their claims, the Debtor was in eﬀect
paying interest on the claims at a commercially reasonable rate.
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                       are entitled, any fixed redemption price to which they are entitled;
                       or the value of that interest. Therefore, 11 U.S.C. § 1129(b)(2)(C)(i)
                       is met.

        m.     Principal Purpose of the Plan. The principal purpose of the Plan is not the
               avoidance of taxes or the avoidance of the application of section 5 of the
               Securities Act of 1933. No governmental entity has filed an objection to the
               Plan on these grounds. Therefore, 11 U.S.C. § 1129(d) is satisfied.

7.      Executory Contracts. The Plan’s assumption and assignment of any identified
        unexpired leases and executory contracts pursuant to 11 U.S.C. §§ 365 and 1123(b)
        is approved. The rejection of all or other executory contracts and unexpired leases
        is approved.

8.      Implementation. The Debtor is authorized to execute, deliver, file, or record any
        documents, contracts, instruments, and other agreements and take all other actions
        as may be necessary to implement and effectuate the Plan.

9.      Binding Effect. Upon entry of this order and subject to the occurrence of the Plan’s
        effective date, the provisions of the Plan shall bind the Debtor, all holders of claims
        (irrespective of whether the claims are impaired under the Plan or whether the
        claimants have accepted the Plan), any and all non-debtor parties to executory
        contracts and unexpired leases with the Debtor, any party in interest in the
        bankruptcy case, and the heirs, administrators, executors, successors or assigns, if
        any, or any of them.

10.     Liens survive. Except for liens and security interests avoided by separate order, the
        liens and security interests of creditors whose claims are secured by an interest in
        property of the Debtor will continue, for so long as the Debtor is obligated to the
        holder of the lien or security interest as a secured claimant.

11.     Discharge. Since the Plan was confirmed pursuant to 11 U.S.C. § 1191(b), the
        Debtor shall not receive its discharge until it has completed all payments due under
        the Plan.

12.     Administration of the Plan. The Debtor shall be responsible for making all
        payments required under the Plan and filing any applicable reports or tax returns.
        The Subchapter V trustee shall continue to monitor the Debtor’s affairs until all
        payments due within the first five years of the Plan have been made. The Debtor
        will be responsible for payment of any reasonable administrative expense claims
        resulting from the Subchapter V trustee's continual monitoring of the case post-
        confirmation.

13.     Compensation and expense reimbursement applications. Debtor’s counsel and
        other professionals retained by the Debtor shall file their final applications for
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        allowance of compensation and costs through the date of confirmation within thirty
        (30) days of the date of this order.

14.     Retained jurisdiction. Pursuant to the Plan and 11 U.S.C. §§ 105 and 1142, this
        Court retains jurisdiction subsequent to the entry of this order to enter orders
        necessary to facilitate the implementation of the Plan and to ensure that the
        purposes and intent of the Plan are carried out.

15.     Exemption from Taxes. Pursuant to 11 U.S.C. §1146, any sale or transfer of assets
        or delivery of any instruments contemplated under the Plan shall not be taxed under
        any law imposing a stamp tax or similar tax.

16.     Notice of Effective Date. The Debtor shall file a notice with the Court within seven
        days from the occurrence of the Effective Date of the Plan.

17.     Spreadsheet Detailing Payments. On or before the forty-fifth (45th) day following
        the Effective Date of Confirmation, the Debtor shall file a spreadsheet with the
        Court detailing all of the Debtor’s payments under the Plan and this order.

18.     Objections to Confirmation. The Re: Objection to Third Plan of Reorganization:
        Chapter 11 Subsection V Bankruptcy Case – Case No. 8:23-bk-00425-CPM [Doc.
        No. 122] and the Objection to the Third Plan of Reorganization in the NeuroEM
        Therapeutics, Inc., Chapter 11, Subsection 5 Bankruptcy Case – 8:23-bk-00425-
        CPM [Doc. No. 123] are both overruled as moot due to the modification of the
        treatment of the Class 4 claimants set forth in paragraph A(iii) above. No further
        orders shall be issued by the Court.

19.     Motion for Cram-Down. The Motion to Confirm Plan of Reorganization Pursuant
        to 11 U.S.C. § 1191(b) [Doc. No. 127] is granted. No further order shall be issued
        by the Court.

20.     Status Conference. A status conference will be held in, Courtroom 8B, Sam M.
        Gibbons United States Courthouse, 801 N. Florida Ave., Tampa, FL 33602 on
        December 11, 2023, at 10:00 a.m., before the Honorable Catherine Peek McEwen,
        United States Bankruptcy Judge.


Attorney for Debtor, Buddy D. Ford, Esquire, is directed to serve a copy of this
order on interested parties who do not receive service by CM/ECF and file a
Proof of service within three (3) days of entry of the order.
